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 1   Eric K. Fogderude # 070860
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 3   Fresno, CA 93704
     Telephone: 559-431-9710
 4   Attorney for Defendant, JENNIFER DONABEDIAN
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 8                               UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                       No. 1:15-cr-00104 AWI/SKO

12                             Plaintiff,            STIPULATION TO CONTINUE
                                                     BAIL REVIEWMOTION AND ORDER
13          v.                                       THEREON

14   JENNIFER DONABEDIAN,
                                                     Date: October 5, 2015
15                            Defendant.             Time: 1:00 p.m.

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17
                                             STIPULATION
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            It is hereby stipulated by and between the parties hereto that the Bail Review Motion in
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     the above entitled matter now set for September 28, 2015, may be continued October 5, 2015 at
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     1:00 p.m.
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            Good cause exists for the continuance because counsel for the United States is not
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     available for the hearing on September 28, 2015, but will be available on October 5, 2015.
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24
     DATED: September 24, 2015                 FLETCHER & FOGDERUDE, INC.
25
                                               /s/ Eric K. Fogderude              .
26                                            ERIC K. FOGDERUDE
                                              Attorney for Defendant, JENNIFER DONABEDIAN
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     Case 1:15-cr-00104-AWI-SKO Document 118 Filed 09/24/15 Page 2 of 2


 1   DATED: September 24, 2015                  Benjamin B. Wagner

 2                                              United States Attorney

 3                                              /s/ Melanie Alsworth                     .
                                                MELANIE ALSWORTH
 4
                                                Assistant US Attorney
 5

 6                                              ORDER

 7          IT IS SO ORDERED. The court grants the stipulation that the Bail Review Motion

 8   hearing be continued from September 28, 2015 at 1:00 p.m. to October 5, 2015 at 1:30 p.m.

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     IT IS SO ORDERED.
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11      Dated:    September 24, 2015                       /s/ Barbara A. McAuliffe              _
                                                       UNITED STATES MAGISTRATE JUDGE
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